Form ntcabuse

111 First Street
Bay City, MI 48708


                                     UNITED STATES BANKRUPTCY COURT
                                           Eastern District of Michigan

                                                Case No.: 16−21964−dob
                                                      Chapter: 7

In Re: (NAME OF DEBTOR(S))
   Angela Jane−Howey Simpson
   9783 Teton Ridge
   Gaylord, MI 49735
Social Security No.:
   xxx−xx−6818
Employer's Tax I.D. No.:


                                       STATEMENT OF PRESUMED ABUSE



As required by 11 U.S.C. Sec. 704(b)(1)(A), the United States Trustee has reviewed the materials filed by the
debtor(s). Having considered these materials in reference to the criteria set forth in 11 U.S.C. Sec. 707(b)(2)(A), and,
pursuant to 11 U.S.C. Sec. 704(b)(2), the United States Trustee has determined that:(1) the debtor's(s') case should be
presumed to be an abuse under section 707(b); and (2) the product of the debtor's currently monthly in come,
multiplied by 12, is not less than the requirements specified in section 704(b)(2)(A) or (B). As required by 11 U.S.C.
Sec. 704(b)(2) the United States Trustee shall, not later than 30 days after the date of this Statement's filing, either file
a motion to dismiss or convert under section 707(b) or file a statement setting forth the reasons the United States
Trustee does not consider such a motion to be appropriate. Debtor(s) may rebut the presumption of abuse only if
special circumstances can be demonstrated as set forth in 11 U.S.C. Sec.707(b)(2)(B). Filed by U.S. Trustee Daniel
M. McDermott. (Gies (UST), Jill)



Dated: 12/16/16

                                                              United States Trustee




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